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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


  UNITED STATES OF AMERICA,

                      Plaintiff,

  v.                                                            Case No. 11-20551

  DR. ADELFO PAMATMAT, M.D. (D-18),

                     Defendant.
                                                 /

       OPINION AND ORDER DENYING DEFENDANT’S MOTION FOR A NEW TRIAL

         On July 2, 2015, a jury of his peers found Defendant Dr. Adelfo Pamatmat guilty

  of conspiracy to distribute controlled substances and health care fraud conspiracy.

  (Dkt. # 1160, Pg. ID 8142-43.) Now before the court is Pamatmat’s Motion for New Trial

  which raises eight grounds for granting a new trial. (Dkt. # 1180) For the reasons

  stated below, the court will deny Pamatmat’s motion.

                                     I. BACKGROUND

         Pamatmat filed certain pretrial motions which, along with the trial proceedings,

  provide the bases for the instant motion for a new trial. First, on September 10, 2014,

  Pamatmat moved to dismiss his indictment on the ground that the two conspiracy

  counts against him failed to inform him of the specific acts that he performed in

  furtherance of the conspiracy, with whom he conspired to commit the acts, and the

  lengths of time Pamatmat engaged in the conspiracy, and on the ground that the counts

  charged multiple conspiracies and were duplicative. (Dkt. # 853, Pg. ID 3684-85.) The

  court denied the motion, concluding that the indictment adequately informed Pamatmat
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  of the charges against him and finding that the two conspiracy counts were not

  duplicative. (Dkt. # 1022.)

         Second, on December 29, 2014, Pamatmat filed a Motion to Suppress Alleged

  Inculpatory Statements, in which Pamatmat requested that the court suppress (1)

  alleged inculpatory statements made by Pamatmat and (2) an Application to Intercept

  Wire and Electronic Communications, Drug Enforcement Administration (“DEA”) Agent

  Swain’s Affidavit filed in support of the application, and any evidence uncovered as a

  result of the wiretap sought through the application. (Dkt. # 909, Pg. ID 4067.)

  Following an April 8, 2015 evidentiary hearing regarding the motion to suppress, the

  court entered an order denying Pamatmat’s Motion to Suppress. (Dkt. # 1031.) In the

  order, the court stated:

          [T]he court finds the three testifying DEA agents credible and finds Pamatmat
          not credible. The agents corroborated each others’ testimony, and their
          description of events provides the most likely explanation for how the DEA
          acquired the information related to Pamatmat contained in the DEA’s
          December 6, 2010 Report of Investigation. (Gov’t Ex. 1, Hr’g, Apr. 8, 2015.)
          Meanwhile, Pamatmat’s testimony and affidavit are inconsistent . . . .
          Accordingly, the court finds that Pamatmat’s alleged inculpatory statements
          are supported by a preponderance of the evidence. The court also finds, by
          a preponderance of the evidence, that Pamatmat waived his Miranda rights
          prior to making the inculpatory statements and that the statements were
          made voluntarily.
  (Id. at # 5109.)

         Over a month after the court denied Pamatmat’s Motion to Dismiss the

  Indictment, on May 4, 2015, Pamatmat filed an untimely “emergency” motion attacking

  as perjury the presentation of evidence by DEA Task Force Officer Patrick DeBottis in

  the course of his grand jury testimony. (Dkt. # 1060.) The court denied the emergency

  motion, observing that “Pamatmat’s motion struts and frets, and is replete with furious


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  and inflammatory accusations, but is sadly devoid of an explanation as to how the

  subject testimony is even incorrect, let alone how it constitutes intentionally misleading

  perjury.” (Dkt. # 1066, Pg. ID 5620.)

         Jury selection for Pamatmat’s trial began on May 20, 2015. A verdict was

  delivered by the jury on July 2, 2015 convicting Pamatmat of conspiracy to distribute

  controlled substances and health care fraud conspiracy. (Dkt. # 1160, Pg. ID 8142-43.)

  The instant motion followed.

                                        II. STANDARD

         Pursuant to Federal Rules of Criminal Procedure Rule 33, “[u]pon the

  defendant’s motion, the court may vacate any judgment and grant a new trial if the

  interest of justice so requires. If the case was tried without a jury, the court may take

  additional testimony and enter a new judgment.” Fed. R. Crim. P. 33(a). “[I]t is widely

  agreed that Rule 33’s ‘interest of justice’ standard allows the grant of a new trial where

  substantial legal error has occurred.” United States v. Munoz, 605 F.3d 359, 373 (6th

  Cir. 2010).

                                       III. DISCUSSION

         Pamatmat alleges that a new trial is necessary because the court erred by (1)

  failing to grant a hearing on Pamatmat’s Motion to Dismiss the Indictment, (2) applying

  an erroneous standard of law in deciding the Motion to Dismiss the Indictment, (3)

  showing bias and partiality during an April 8, 2015 pretrial evidentiary hearing, (4)

  applying an erroneous standard of law in denying Pamatmat’s Motion to Suppress, (5)

  failing to address certain “4th Amendment abuses” in Pamatmat’s Motion to Suppress,

  (6) failing to address Defendant’s emergency motion, (7) “interfer[ing] with Defendant’s

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  right to cross-examination of a prosecution witness” and “show[ing] bias and partiality

  against defense counsel throughout trial,” and (8) allowing an “inflammatory” closing

  rebuttal by the government which “misstated facts.” (Id.) Pamatmat’s arguments are

  without merit. Each argument will be addressed in turn.

         First, Pamatmat argues that the court violated Federal Rules of Criminal

  Procedure Rule 12(d) and (f) by improperly failing to grant a hearing on Pamatmat’s

  motion to dismiss the indictment. (Dkt. # 1180, Pg. ID 8558.) Neither Rule 12(d) nor

  Rule 12(f) requires a district court to hold a hearing to resolve a pretrial motion. See

  Fed. R. Crim. P. 12(d) (“The court must decide every pretrial motion before trial unless it

  finds good cause to defer a ruling. The court must not defer ruling on a pretrial motion if

  the deferral will adversely affect a party's right to appeal. When factual issues are

  involved in deciding a motion, the court must state its essential findings on the record.”);

  Fed. R. Crim. P. 12(f) (“All proceedings at a motion hearing, including any findings of

  fact and conclusions of law made orally by the court, must be recorded by a court

  reporter or a suitable recording device.”). Furthermore, Rule 12(c)(1) provides that a

  court “may . . . schedule a [pretrial] motion hearing,” but it in no way compels the court

  to hold a hearing to resolve pretrial motions. Fed. R. Crim. P. 12(c) (emphasis added).

  Likewise, pursuant to Eastern District of Michigan Local Rule 7.1(f)(2), the court has

  authority to rule on motions without holding a hearing. In light of Federal Rule of

  Criminal Procedure 12(c), Local Rule 7.1(f)(2), and the reasons set forth for denying

  Pamtmat’s motion in the March 31, 2015 order, the district court did not err in denying

  Pamatmat’s motion without a hearing. The court finds Pamatmat’s first argument

  unmeritorious.

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         Second, Pamatmat insists that the district court applied an erroneous standard of

  law in denying his motion to dismiss the indictment. (Dkt. # 1180, Pg. ID 8561.) In

  particular, Pamatmat states that the court erred by deciding his motion under “FRCP

  7.1(c)(1).” (Id.) The order dismissing Pamatmat’s motion cites to Federal Rule of

  Criminal Procedure Rule 7(c)(1) for the proposition that an indictment “must be a plain,

  concise, and definite written statement of the essential facts constituting the offense

  charged.” Pamatmat has not provided any basis for finding the court’s citation to Rule

  7(c)(1) erroneous. The court, therefore, finds this argument to be baseless.

         Third, Pamatmat argues that the court “showed bias and partiality towards

  defense counsel, and defendant, during the evidentiary hearing for defendant’s motion

  to suppress alleged inculpatory statements held on April 8, 2015” by (a) admonishing

  Defendant’s counsel during the hearing; (b) by independently asking Pamatmat

  questions during the hearing; and (c) interrupting the evidentiary hearing to hold a

  hearing for one of Pamatmat’s co-defendants. (Dkt. # 1180, Pg. ID 8561.) Pamatmat

  first points to an exchange that occurred during the government’s cross-examination of

  Pamatmat. The government asked Pamatmat whether he had refused to tell a DEA

  agent his cell phone number or whether he told the agent his cell phone number. (See

  Doc #1077, Pg ID 5861 (“All you’re denying is that you’re saying you refused to tell him

  what your cell phone number was or did you tell him your cell phone number at the

  time?”).) Pamatmat answered that he did not remember. Pamatmat’s counsel then

  interjected, “Your Honor, again, I'm going to object. That, that cell phone number was

  tracked by DEA agents from September 9, 2010 all the way to 8/21/2011.” (Id.) The

  court asked about the basis for the objection, and Pamatmat’s counsel responded, “The

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  basis is the Government knew of that cell phone number

  before they inquired of the doctor of the cell phone.” (Id. at 5862.) The court then

  informed counsel:

          That doesn’t state a basis for an evidentiary objection. It does, however, Mr.
          Landau, I note, provide proffered answers for the possible benefit of the
          witness who is being cross-examined. And if, and if, and I will tell you, Mr.
          Landau, if that sort of thing were to happen in front of a jury, the lawyer
          proffering those coaching-type comments to his witness who is being
          cross-examined would be sanctioned.
          ...
          And would be very embarrassed in front of the jury. That's what would
          happen. Just bear that in mind. I don't know what goes on in state court, I
          don't know where your experience lies, but that kind of coaching is very risky.
          Very risky indeed. Understood?

  (Id.)

          This exchange does not demonstrate any bias or impartiality on behalf of the

  court. Pamatmat’s counsel did not state a basis for an objection, but rather appears to

  have attempted to feed his client testimony during the government’s cross-examination.

  The Supreme Court has held:

          [O]pinions formed by the judge on the basis of facts introduced or events
          occurring in the course of the current proceedings, or of prior proceedings,
          do not constitute a basis for a bias or partiality motion unless they display a
          deep-seated favoritism or antagonism that would make fair judgment
          impossible. Thus, judicial remarks during the course of a trial that are critical
          or disapproving of, or even hostile to, counsel, the parties, or their cases,
          ordinarily do not support a bias or partiality challenge. They may do so if they
          reveal an opinion that derives from an extrajudicial source; and they will do
          so if they reveal such a high degree of favoritism or antagonism as to make
          fair judgment impossible . . . . Not establishing bias or partiality, however,
          are expressions of impatience, dissatisfaction, annoyance, and even anger,
          that are within the bounds of what imperfect men and women, even after
          having been confirmed as federal judges, sometimes display. A judge's
          ordinary efforts at courtroom administration—even a stern and
          short-tempered judge’s ordinary efforts at courtroom administration—remain
          immune.


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  Liteky v. United States, 510 U.S. 540, 555-556 (1994).

         Here, the court’s statements to counsel were an effort at courtroom

  administration with the goal of preventing improper commentary from counsel in front of

  the jury at trial. The comments were in direct response to counsel’s improper courtroom

  behavior and in no way reflected a “deep-seated favoritism or antagonism that would

  make fair judgment impossible.” Id. at 555.

         Pamatmat also argues that the court demonstrated bias and partiality when it

  examined Pamatmat during the April 8, 2015 evidentiary hearing. Pamtmat’s argument

  is wholly baseless. The Federal Rules of Evidence provide that “[t]he court may

  examine a witness regardless of who calls the witness.” Fed. R. Civ. P. 614(b). The

  court asked Pamatmat questions to clarify his testimony, as is permitted under the

  Federal Rules of Evidence.

         Pamatmat also notes that the court scheduled a separate hearing for one of

  Pamatmat’s co-defendants, who later testified at his trial, on the same day as

  Pamatmat’s evidentiary hearing. He also notes that the court recessed Pamatmat’s long

  evidentiary hearing in order to conduct the hearing. The court is at a loss to

  understand, and Pamatmat does not explain, how the decision to pause his evidentiary

  hearing in order to handle a previously-scheduled separate hearing for a co-defendant

  in any way demonstrated bias or prejudice or substantively impacted Pamatmat's

  hearing in any way. The court maintains an active docket, and it is common to pause

  lengthier proceedings in order to quickly handle less complicated matters. Such

  decisions are within the discretion of the court to efficiently handle its docket, particularly

  on days where a surprisingly slow-moving matter is requiring attorneys in other

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  proceedings to sit with the meter running while unnecessarily waiting for their

  comparatively short matter to be called. Pamatmat's challenge to this routine procedure

  is rejected.

         Fourth, Pamatmat argues that the court should grant Pamatmat a new trial

  because it erred in denying Pamatmat’s Motion to Suppress Alleged Inculpatory

  Statements in its April 9, 2015 order. (Dkt. # 1031.) Pamatmat asserts that the court

  “was guided by an erroneous standard of law.” (Dkt. # 1180, Pg. ID 8566.) Pamatmat

  appears to attempt to reargue that the inculpatory statements at issue in the motion to

  suppress should have been suppressed. For the same reasons stated in the April 9,

  2015 order, the court finds that Pamatmat’s motion to suppress was properly denied.

  (See Dkt. # 1031.)

         Fifth, Pamatmat again attacks the court’s April 9, 2015 order denying Plaintiff’s

  motion to suppress, claiming that the court erred by failing to address Pamatmat’s

  argument that the Drug Enforcement Administration (“DEA”) violated the Fourth

  Amendment by searching “Pamatmat’s cell phone[] and/or call logs.” (Dkt. # 1180, Pg.

  ID 8566.) Pamatmat is incorrect. The order states, “The fact that the affidavit

  [supporting the DEA’s application to intercept wire and electronic communications] may

  have omitted discussion of an alleged search of Pamatmat’s cell phone or call logs and

  Pamatmat’s and his girlfriend’s usage of a telephone number that was subscribed to

  Pamatmat were not critical for a finding of probable cause.” (Dkt. # 1031, Pg. ID 5111.)

  This fifth argument is based on a faulty premise and is rejected.

         Likewise, Pamatmat claims in his sixth argument that the court failed to address

  his Emergency Motion to Dismiss the Indictment (Dkt. # 1060.) The court did, in fact,

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  address the motion and denied it in a May 7, 2015 order. (Dkt. # 1066.) Pamatmat also

  complains that he was not granted a hearing for the motion. As explained above, a

  court is not required to hold a hearing to resolve a pre-trial motion. A hearing was not

  necessary to resolve the emergency motion for the reasons stated in the May 7, 2015

  order. (Dkt. # 1066.)

         Seventh, Pamatmat asserts that the court abused its discretion and violated his

  right to a fair trial by “improperly show[ing] partiality towards the prosecution” and

  “interfering with defendant’s right to cross-examination of a prosecution witness.” (Dkt.

  # 1180, Pg. ID 8573.) In particular, Pamatmat laments that “the Court sustained nearly

  every objection raised by the prosecution during trial, yet overruled nearly every

  defense objection during trial.” (Id. at 8574.)

         As stated above, the Supreme Court has held that, “[a] judge's ordinary efforts at

  courtroom administration—even a stern and short-tempered judge’s ordinary efforts at

  courtroom administration—remain immune.” Liteky v. United States, 510 U.S. at 556.

  During the trial, Pamatmat’s counsel frequently interrupted the court and witnesses,

  asked witnesses repetitive questions, regularly proffered “speaking” objections, and

  made extraneous comments and facial expressions in front of the jury, all in violation of

  the court’s rules and specific instructions to counsel. (See, e.g., Jury Trial, Vol. III 26-

  79.) In order to maintain courtroom civility and to proceed with ordinary administration

  of a trial, the court periodically advised Pamatmat’s counsel, as well as the other

  attorneys, about the rules governing criminal proceedings in the Eastern District of

  Michigan, how to ask a witness a proper question, how to properly introduce evidence,

  and the importance of not interrupting other attorneys, witnesses, or the court. (See,

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  e.g., id. at 60.) Likewise, Pamatmat’s contention that the court improperly interfered

  with his cross-examination is unfounded. “[A] trial court has discretion to limit the scope

  of cross-examination. This includes discretion to impose limits based on concerns

  about harassment, prejudice, confusion of the issues, witness safety, or interrogation

  that is repetitive or only marginally relevant.” Boggs v. Collins, 226 F.3d 728, 736 (6th

  Cir. 2000). When Pamatmat’s counsel repeatedly asked the same questions to

  witnesses after the witnesses had already answered those questions, the court used its

  discretion to prevent Pamatmat’s counsel from continuing to harass the witnesses and

  solicit answers which had already been provided multiple times. Furthermore, the court

  ruled on objections from each party based on the merits of the asserted objections.

  Pamatmat’s claims of bias, partiality, and interference with cross-examination are

  baseless, and his general attack on the court’s rulings on objections are frivolous.

          Last, Pamatmat argues that the government’s closing rebuttal argument was

  improper. In particular, Pamatmat asserts that the government’s rhetorical statement,

  “thou dost protest to[o] much” was improper and that the government misstated facts.

  (Dkt. # 1180, Pg. ID 8576.) Pamatmat has not explained which facts were misstated by

  the government or how the government’s rhetorical device in the closing rendered the

  trial unfair.

          In sum, Pamatmat’s kitchen-sink motion for a new trial is entirely unsupported by

  fact and law. He has not established that the interest of justice require the court to grant

  him a new trial. The motion is wholly devoid* of merit. It will be wholly denied.



                                      III. CONCLUSION

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           IT IS ORDERED THAT Plaintiff’s Motion for a New Trial (Dkt. # 1180) is DENIED.


                                                            s/Robert H. Cleland
                                                           ROBERT H. CLELAND
                                                           UNITED STATES DISTRICT JUDGE

  Dated: September 4, 2015

  I hereby certify that a copy of the foregoing document was mailed to counsel of record
  on this date, September 4, 2015, by electronic and/or ordinary mail.

                                                            s/Lisa Wagner
                                                           Case Manager and Deputy Clerk
                                                           (313) 234-5522




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